                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                             Inmate: 91384 - ANDERSON, JOHN M.

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   Received Date         Complaint Number         Subject              Brief Summary
     04/18/2014          WCI-2014-7736           7 - Personal          Complains about his coax cable missing after TLU
                                                 Property
     06/26/2014          WCI-2014-12456          4 - Medical           ***Complains regarding co-pay charge.
     02/03/2017          WCI-2017-3798           17 - Inmate           Complains regarding supervision fees being taken
                                                 Accounts
     05/01/2017          WCI-2017-11325          11 - Visiting         Complains regarding removal of D. Spivey from visiting
                                                                       list.
     11/03/2017          WCI-2017-28075          7 - Personal          Claims property is missing after TLU
                                                 Property
     01/18/2018          WCI-2018-1610           12 - Other            Claims he is not getting his structured rec passes
     10/12/2018          WCI-2018-21525          1 - Staff             Claims staff did not give him his pm medications
     10/19/2018          WCI-2018-21999          1 - Staff             Claims staff denied him his meds
     11/20/2018          WCI-2018-24040          3 - Discipline        Complains regarding CR 3225668
     11/28/2018          WCI-2018-24495          1 - Staff             Claims Sgt Sankey denied him his morning medications
     12/03/2018          WCI-2018-24762          6 - Personal        Complains he was in a cell with water that was ankle
                                                 Physical Conditions deep
     12/19/2018          WCI-2018-25916          4 - Medical         Claims nothing is being done to address his pain
     12/27/2018          WCI-2018-26364          4 - Medical           Complains HSU will not give him any walking assistance
     01/04/2019          WCI-2019-387            12 - Other            Complains the walkway was not shoveled and he fell
     01/07/2019          WCI-2019-477            12 - Other            Complains the walkway was not shoveled and he fell
     01/25/2019          WCI-2019-1772           3 - Discipline        Complains that his rehearing has not been done
     02/11/2019          WCI-2019-2849           4 - Medical           Complains he wants his medications that were
                                                                       discontinued because the CR was dismissed
     02/18/2019          WCI-2019-3256           1 - Staff             Complains staff made him crawl to get his crutches
     02/28/2019          WCI-2019-4028           4 - Medical           Claims Nurse Laning gave him the wrong medication
                                                                       then threatened him
     03/25/2019          WCI-2019-5618           26 - Psychiatry       Claims he was told his Bupropion was discontinued.
                                                                       *JM/3-27-19/Recoded to 26 per ICE Moon request.*
     05/16/2019          WCI-2019-8894           4 - Medical           Complains his pregabalin was discontinued
     01/06/2020          WCI-2020-273            3 - Discipline        Complains regarding CR 70106
     02/17/2020          WCI-2020-2822           6 - Personal          Alleges issue with the drinking water
                                                 Physical Conditions
     02/24/2020          WCI-2020-3248           6 - Personal          Alleges issues with the drinking water
                                                 Physical Conditions
     04/23/2020          WCI-2020-7188           7 - Personal          Claims his radio was missing after his TLU
                                                 Property
     05/22/2020          WCI-2020-8956           7 - Personal          Complains regarding a 90 day hold on his fan and
                                                 Property              headphones
     10/21/2020          WCI-2020-18247          7 - Personal          Claims his fan is missing after TLU
                                                 Property
     12/28/2020          WCI-2020-22273          4 - Medical           Complains that his Gabapentin was discontinued
     01/04/2021          WCI-2021-55             4 - Medical           Complains he was receiving a blood draw every 2 days
     01/27/2021          WCI-2021-1502           4 - Medical           Claims nurse Rob made fun of his injuries and made him
                                                                       wait in HSU for 8 hours

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     02/04/2021          WCI-2021-1999           4 - Medical            Complains that he is not being prescribed Gabapentin
     02/08/2021          WCI-2021-2103           17 - Inmate            Complains he was charged for two copay for 11/23/20
                                                 Accounts
     03/29/2021          WCI-2021-4782           4 - Medical            Claims HSU is placing things in his Milk of Magnesia
     05/25/2021          WCI-2021-8168           4 - Medical          Complains that he was prescribed medication that he
                                                                      gets life threatening side effects from
     08/09/2021          WCI-2021-12048          2 - Correspondence Complains regarding the denial of a publication
                                                 & Publications
     11/19/2021          WCI-2021-17703          17 - Inmate          Complains he has not received his refund
                                                 Accounts
     02/28/2022          WCI-2022-3605           19 - Confidentiality Claims there is false information in his HSU file
                                                 of & Access to
                                                 Protected Health
                                                 Information
     04/06/2022          WCI-2022-5530           12 - Other           Claims he received liver/kidney damage from WCI water
     04/12/2022          WCI-2022-5836           4 - Medical            Complains labs results were based on a previous draw
                                                                        and not the 4/1/22 draw
     05/09/2022          WCI-2022-7131           4 - Medical            Complains that he is not being given an MRI
     05/16/2022          WCI-2022-7523           4 - Medical            Complains he was prescribed medications that gave him
                                                                        liver disease
     05/26/2022          WCI-2022-8108           4 - Medical            Complains he is not receiving an MRI or x-rays
     05/31/2022          WCI-2022-8258           4 - Medical            Claims Dr Jean-Pierre is retaliating against him by not
                                                                        seeing him for a head injury
     06/06/2022          WCI-2022-8610           4 - Medical            Complains he did not receive a medical assessment after
                                                                        returning from off site
     06/14/2022          WCI-2022-9147           4 - Medical            Complains a PSA has not been done
     06/27/2022          WCI-2022-9629           19 - Confidentiality   Complains regarding medical records
                                                 of & Access to
                                                 Protected Health
                                                 Information
     07/11/2022          WCI-2022-10351          4 - Medical            Complains he did not receive pain medication
     07/12/2022          WCI-2022-10467          4 - Medical            Claims his eye was misdiagnosed
     07/18/2022          WCI-2022-10661          2 - Correspondence     Complains regarding NOND
                                                 & Publications
     07/26/2022          WCI-2022-11241          19 - Confidentiality   Complains of issue in his HSU file
                                                 of & Access to
                                                 Protected Health
                                                 Information
     08/01/2022          WCI-2022-11488          19 - Confidentiality   Complains regarding information is his file
                                                 of & Access to
                                                 Protected Health
                                                 Information
     08/10/2022          WCI-2022-12052          19 - Confidentiality   Complains regarding information in his HSU file
                                                 of & Access to
                                                 Protected Health
                                                 Information

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     08/29/2022          WCI-2022-12953          4 - Medical            Complains HSU will not see him for his painful bladder
                                                                        syndrome
     08/31/2022          WCI-2022-13134          4 - Medical            Complains he is not being seen by a Urologist
     09/08/2022          WCI-2022-13607          19 - Confidentiality   Claims staff discussed his medical with a doctor not in
                                                 of & Access to         his presence
                                                 Protected Health
                                                 Information
     09/16/2022          WCI-2022-14079          4 - Medical            Complains he was not given the amount of medication
                                                                        prescribed by an outside provider
     09/29/2022          WCI-2022-14709          12 - Other             Complains Emily Davidson lied to the court
     10/11/2022          WCI-2022-15330          15 - ICRS              Complains regarding WCI-2022-14709
     10/17/2022          WCI-2022-15562          4 - Medical            Complains he is not being prescribed pain medications
                                                                        *no attachments accompanied this submission as the
                                                                        inmate indicates*
     11/14/2022          WCI-2022-17022          15 - ICRS              Claims the recommendation of WCI-2022-10661 is not
                                                                        being implemented
     11/22/2022          WCI-2022-17493          19 - Confidentiality   complains regarding information in his medical file
                                                 of & Access to
                                                 Protected Health
                                                 Information
     12/15/2022          WCI-2022-18618          4 - Medical            Complains his Acyclovir was discontinued
     12/28/2022          WCI-2022-19242          12 - Other             Claims the business office lost his legal paperwork
     01/03/2023          WCI-2023-7              4 - Medical            complains he is not being treated for herpes
     01/09/2023          WCI-2023-366            19 - Confidentiality   Complains regarding information in his file
                                                 of & Access to
                                                 Protected Health
                                                 Information
     04/18/2023          WCI-2023-5520           7 - Personal           complains regarding contraband glasses
                                                 Property
     04/24/2023          WCI-2023-5866           7 - Personal           claims property is missing
                                                 Property
     05/03/2023          WCI-2023-6458           12 - Other             claims his lawyer call was denied
     05/22/2023          WCI-2023-7482           7 - Personal           complains he is not receiving his new fan
                                                 Property
     06/05/2023          WCI-2023-8196           12 - Other             complains he was denied recreation on 6/1
     06/19/2023          WCI-2023-9060           4 - Medical            complains he does not agree with the medication that
                                                                        was prescribed
     07/12/2023          WCI-2023-10351          12 - Other             claims he is being denied legal library
     07/24/2023          WCI-2023-10892          4 - Medical            complains he is not receiving a cortisone shot
     08/03/2023          WCI-2023-11538          4 - Medical            claims the nurse destroyed confidential protective health
                                                                        records
     08/14/2023          WCI-2023-12010          4 - Medical            complains he is not receiving a cortisone shot
     09/05/2023          WCI-2023-13260          4 - Medical            complains he is not being seen for eye pain
     10/09/2023          WCI-2023-15204          17 - Inmate            complains regarding deductions for 01CF5077 that has
                                                 Accounts               been paid already

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